                          UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA


 BRIAN HAYHURST,                                )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )      Case No. 1:19CV657
                                                )
 KELLER WILLIAMS REALTY, INC. ,                 )
                                                )
                Defendant.                      )
                                                )
                                                )


                                            ORDER

       This matter is before the Court on the parties’ Joint Rule 26(f) Report [Doc. #48]. The

Court has reviewed the Joint Report and approves it as submitted and as noted herein.

       The Court notes that supplementations under Rule 26(e) are due as provided in the

Joint Report but no later than the close of discovery, unless Court authorization is obtained

to provide corrective information required by Rule 26(e)(1)(A) after the close of discovery.

The Court also notes that under Local Rule 83.9d, if the parties do not provide the name o f

an agreed-upon mediator within 21 days of this Order, the Clerk will select a mediator from

the Court’s panel of mediators. The Court notes that all discovery must be completed by

March 28, 2022, and that deadline may not be altered by agreement of the parties absent a

Court Order. Finally, the Court notes that any dates for a final pretrial conference or for final

pretrial motions will be determined by the District Judge prior to trial in this matter.

       The Court will also adopt the Parties’ Rule 5.5 Report, which reflects that the Parties

will follow the default procedures in Local Rule 5.4 as further set out in the Rule 5.5 Report.




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The Parties are encouraged to use stipulations and redactions to avoid filing documents under

seal to the extent possible.

       IT IS THEREFORE ORDERED that the parties’ Joint Rule 26(f) Report [Doc. #48]

is approved as submitted and as noted herein.

       IT IS FURTHER ORDERED that the Joint Rule 5.5 Report [Doc. #47] is approved

and adopted as noted herein.

       This, the 25th day of August, 2021.

                                                     /s/ Joi Elizabeth Peake
                                                  United States Magistrate Judge




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